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                                              U.S. Department of Justice

                                              Office of the United States Trustee
                                              Southern District of New York
                                              201 Varick Street                   (212) 510-0500
                                              Suite 1006                    Fax: (212) 668-2255
                                              New York, New York 10014



                                               September 24, 2018



BY ECF AND BY FEDERAL EXPRESS

Hon. James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Alexander Hamilton Customs House
One Bowling Green
New York, New York 10004


                          Re:    In re Igor Erik Kuvykin
                                 Case No. 18-10760 (JLG)

Dear Judge Garrity:

          I respectfully write to update the Court concerning the
stipulation and order of dismissal of the above-referenced case (the
“Stipulation”).

           The September 20, 2018 status letter of debtor’s counsel,
Wayne M. Greenwald, Esq., stated that he anticipated that a proposed
Stipulation would be submitted to the Court by the middle of this
week. This Office does not intend to submit a proposed Stipulation
until after the hearing on the application of creditor WB Kirby Hill,
LLC (“Kirby”) for a judgment to be entered on its application for
its administrative claim. The hearing on Kirby’s proposed judgment
is currently scheduled for October 10, 2018.

          The reason that the Stipulation will not be submitted until
after the October 10 hearing is that the proposed Stipulation
contains a provision that two orders will survive any dismissal of
the case: (a) the Decision and Order entered on August 31, 2018 (ECF
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No. 70); and (b) the judgment awarded to Kirby. See 11 U.S.C. § 349.
I had told Jil Mazer-Marino, Esq., Kirby’s counsel, that submission
of the Stipulation to Chambers would await entry of Kirby’s judgment.

                                               Respectfully,

                                               WILLIAM K. HARRINGTON
                                               UNITED STATES TRUSTEE, REGION 2

                                         By:      /s/ Serene K. Nakano
                                               SERENE K. NAKANO
                                               Trial Attorney
                                               (212) 510-0505


cc:   Wayne M. Greenwald, Esq.
      Jil Mazer-Marino, Esq.
      William Dahill, Esq.
      By E-Mail
